                         UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION - DETROIT

In Re:

 ARK LABORATORY, LLC                                         Case No. 23-43403-mlo
 a/k/a Helix Diagnostics,                                    Hon. Maria L. Oxholm
                                                             Chapter 11
                Debtor In Possession.
                                              /
MOTION OF MEDICAL REAL ESTATE GROUP, LLC FOR ORDER PURSUANT TO
   BANKRUPTCY RULE 2004 COMPELLING EXAMINATION OF PARTY IN
 INTEREST AND SECURED CREDITOR AUXO INVESTMENT PARTNERS, LLC
               PURSUANT TO BANKRUPTCY RULE 2004

         Medical Real Estate Group, LLC (“Landlord”), by and through its attorneys Simon PLC,

hereby respectfully moves (the “Motion”), this Court for entry of an order pursuant to Rule 2004

of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), compelling examination

of Secured Creditor and Party in Interest Auxo Investment Partners, LLC (“Auxo”), pursuant to

Bankruptcy Rule 2004 the “Bankruptcy Rules”). In support of this Motion, Landlord respectfully

states as follows:

                                        JURISDICTION

         The Court has jurisdiction over this Motion under 28 U.S.C. §§ 157 and 1334. This matter

is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2). Venue of this proceeding and

this Motion in this District is proper under 28 U.S.C. §§ 1408 and 1409. The statutory predicates

for relief requested herein are Bankruptcy Rule 2004 and Rule 2004-1 of the Local Rules of this

Court (the “Local Rules).




 23-43403-mlo        Doc 232    Filed 09/08/23 1 Entered 09/08/23 16:36:54        Page 1 of 6
                                         BACKGROUND

       1.      On January 1, 2021, Debtor and the Landlord entered into the Gross Lease

(“Lease”) for its place of business at 6620 Highland Road, Waterford, Michigan (“Premises”).

       2.    The Landlord filed suit against the Debtor for unpaid rent and a writ of eviction in

the 51st District Court for Oakland County Michigan (Case No. 23-0659-LT) (“District Court

Case”). On April 12, 2023 a hearing was held in the District Court Case. The Court granted

judgment in the amount of $252,679 with interest at the statutory rate against the Debtor and in

favor of the Landlord and ordered that a writ of restitution to evict Defendant from the Premises

may be issued if the amount of the judgment was not paid within 7 days. A judgment was

submitted for entry on that date and was entered on April 14, 2023.

       3.    On April 12, 2023 (after the hearing in the District Court Case) the Debtor filed its

Chapter 11 petition in Case No. 23-43403.

       4.    The Lease is an unexpired nonresidential lease under 11 U.S.C. § 365.

       5.    Subsequent to the commencement of the Debtor’s Chapter 11 case, Auxo succeeded, by

assignment, to the secured position of Comerica Bank and others, acquiring a first secured interest

and/or ownership of substantially all of the Debtor’s personal property assets, including items of

personal property that may be asserted to constitute trade fixtures and/or otherwise affixed or

appurtenant to the Premises.

       6.    Auxo has filed a motion for the sale of substantially all of Debtor’s assets pursuant to 11

U.S.C. § 363 a hearing on which has been set for September 14, 2023.

       7. On August 28, 2023 following a prior motion to assume and assign the Lease and

negotiations with prospective assignee, the Debtor ultimately filed a Motion to Reject Operating

Lease and for Such Other Relief seeking to reject the Lease and impermissibly extend the amount

of time it may remain in possession of the Premises.


 23-43403-mlo       Doc 232      Filed 09/08/23 2 Entered 09/08/23 16:36:54             Page 2 of 6
       8. Auxo has intimated to Landlord and a prospective tenant that it intends to remove all

personal property formerly belonging to the Debtor from the Premises without regard to what items

may or may not be fixtures in contravention of the Lease which expressly prohibits removal of any

personal property without Landlord’s consent.

       9. On or about September 6, 2023 Landlord filed its Motion for Relief From Stay and is

anticipating the grant of same; time is therefore of the essence and requests an examination date

as soon as possible upon expiration of the notice period and anticipated grant of relief from stay.

       9.    Landlord through his attorneys made reasonable efforts prior to filing this Motion to

arrange a mutually convenient date time and place for the examination regarding Auxo’s claims

with respect to trade fixtures and other tenant improvements present in the Premises, contacting

Auxo’s counsel on September 7th and 8th 2023 however such concurrence was not forthcoming.

       10.      Accordingly, discovery regarding personal property in which Auxo has a security

interest and the nature and extent of any tenant improvements made to the Premises during the

time of Debtor’s possession is necessary to determine what, if any, of the property and

improvements may be considered a removable trade fixture or which are required to remain in

place in advance of the institution of proceedings supplemental to the District Court Case to

recover possession of the Premises upon termination of the automatic stay.

                                     RELIEF REQUESTED

       11.     By this 2004 Motion, Landlord respectfully requests the entry of an Order

compelling the examination of Auxo and for the production of the documents and information as

set forth on the attached proposed Order.

                                      BASIS FOR RELIEF

       12.     Bankruptcy Rule 2004 provides in relevant part:




 23-43403-mlo       Doc 232     Filed 09/08/23 3 Entered 09/08/23 16:36:54           Page 3 of 6
                      (a)     Examination on Motion. On motion of any party in interest, the
                              court may order the examination of any entity.

                      (b)     Scope of Examination. The examination of an entity under this rule
                              … may relate only to the acts, conduct, or property or to the
                              liabilities and financial condition of the debtor, or to any matter
                              which may affect the administration of the debtor’s estate, or to the
                              debtor’s right to a discharge. In … a reorganization case under
                              chapter 11 of the Code,… the examination may relate to the
                              operation of any business and the desirability of its continuance, the
                              source of any money or property acquired or to be acquired
                              by the debtor for the purposes of consummating a plan and the
                              consideration given or offered therefore, and any other matter
                              relevant to the case or to the formulation of a plan.

                      (c)     Compelling Attendance and Production of Documentary Evidence.
                              The attendance of an entity for examination and for the production
                              of documents … may be compelled as provided in Rule 9016 for the
                              attendance of a witness at a hearing or trial.
                              Fed. R. Bankr. P. 2004.

       13.     “The purpose of a Rule 2004 examination is ‘to show the condition of the estate

and to enable the Court to discover its extent and whereabouts, and to come into possession of it,

that the rights of the creditor may be preserved.’” In re Coffee Cupboard, Inc., 128 B.R. 509, 514

(Bankr. E.D.N.Y. 1991) (citing Cameron v. United States, 231 U.S. 710, 717 (1914)).

Accordingly, examinations under Rule 2004(a) and (c) may include within their scope, among

other things: any matter which may relate to the property and assets of the estate. See Fed. R.

Bank.P. 2004(a) and (c).

       14.     Moreover, "[b]ecause the purpose of the Rule 2004 investigation is to aid in the

discovery of assets, any third party who can be shown to have a relationship with the debtor can

be made subject to a Rule 2004 investigation." In re Ionosphere Clubs, Inc., 156 B.R. 414, 432

(S.D.N.Y. 1993), affd, 17 F.3d 600 (2d Cir. 1994).

       15.     The purpose of this examination is to fully determine the extent of tenant

improvements made by the Debtor during its occupancy of the Premises and the extent to which




 23-43403-mlo       Doc 232     Filed 09/08/23 4 Entered 09/08/23 16:36:54          Page 4 of 6
Debtor’s personal property may be claimed to be a trade fixture by Auxo and/or otherwise subject

to its security interest.

          16.     Although the scope of an examination under Rule 2004 is “unfettered and broad”,

Landlord has narrowly tailored the information and documentation sought from Auxo specifically

relate to tenant improvements, personal property and fixtures in the Premises. See

In re GHR Energy Corp., 33 B.R. 451, 453 (Bankr. D. Mass. 1983); Fed. R. Bankr. P. 2004.

                                              NOTICE

          17.     Notice of this Motion has been served on counsel to the Debtor, the Office of the

United States Trustee, and all other parties who have requested notice in this case. Under the

circumstances, Landlord submits that such notice is adequate and sufficient and that no other or

further notice is required.

                               NO PRIOR REQUEST FOR RELIEF

          18.     No previous motion for the relief sought herein has been made to this or any other

Court. Landlord reserves the right to conduct further depositions and other discovery, or otherwise,

as appropriate.

          WHEREFORE, Landlord respectfully requests that this Court grant its Motion for Rule

2004 Examination in its entirety, compel the examination of Auxo, and/or its designee, to be

conducted by Landlord and grant such further and additional relief as this Court deems just and

proper.


                                        Respectfully submitted,

                                        Simon PLC Attorneys & Counselors

                                        /s/Daniel J. Feko
                                        Daniel J. Feko (P58733)
                                        Co-counsel for Medical Real Estate Group, LLC
                                        363 W Big Beaver Road, Suite 411


 23-43403-mlo         Doc 232     Filed 09/08/23 5 Entered 09/08/23 16:36:54         Page 5 of 6
                               Troy, MI 48084
                               (248) 720-0290 (office)
                               (248) 720-0291 (fax)
                               dfeko@simonattys.com

Dated: September 8, 2023




 23-43403-mlo    Doc 232   Filed 09/08/23 6 Entered 09/08/23 16:36:54   Page 6 of 6
